722 F.2d 1555
    Irvin H. HILLIARD, Petitioner,v.UNITED STATES POSTAL SERVICE, Respondents.
    Appeal No. 83-923.
    United States Court of Appeals,Federal Circuit.
    Dec. 6, 1983.
    
      Appeal from Merit Systems Protection Board.
      Alan Bryant Chambers, Memphis, Tenn., submitted for petitioner.
      J. Paul McGrath, Asst. Atty. Gen., David M. Cohen, Director, Robert A. Reutershan, Stephen C. Alpern and Joan C. Goodrich, Washington, D.C., submitted for respondents.
      Before BALDWIN, BENNETT and MILLER, Circuit Judges.
      ORDER
      PER CURIAM.
    
    
      1
      The decision of the Merit Systems Protection Board affirming petitioner's removal arises from a "mixed" case and is, therefore, not within this court's jurisdiction to review.   Williams v. Department of the Army, 715 F.2d 1485 (Fed.Cir.1983).
    
    
      2
      Because the pleadings before the district court allege discrimination and do not track the issues of this appeal, it is in the interest of justice that we transfer this case to the district court under 28 U.S.C. Sec. 1631.
    
    Accordingly, IT IS ORDERED THAT:
    
      3
      The case be transferred to the United States District Court for the Western District of Tennessee, Western Division.
    
    